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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

JOSEPH VELLALI et al.,

 Plaintiffs,                                             No. 3:16-cv-01345-AWT

 v.
                                                         Hon. Alvin W. Thompson
 YALE UNIVERSITY et al.,

 Defendants.

               PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ “EMERGENCY”
                MOTION FOR LEAVE TO FILE EXCESS PAGES FOR REPLY
               BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

        The Court should reject Defendants’ extraordinary request to file a reply brief that is

double the size of the ten-page limit allowed by the Local Rules. L.R.7(d).

        Defendants initially requested that Plaintiffs agree to 10 additional pages for Defendants’

reply brief based on the mistaken contention that the Court had granted Plaintiffs 10 additional

pages for their opposition memorandum. Ex. 1, attached hereto. After Plaintiffs pointed out that

their opposition memorandum complied with the 40-page limit of Local Rule 7(a)(5) (id.; see

Doc. 300), Defendants now claim that they need 10 additional pages to respond to the 10

additional pages in Plaintiffs’ Local Rule 56(a)(2) statement. Doc. 320, ¶¶ 2–5.

        Defendants’ motion is an improper attempt to circumvent the Local Rules. As Defendants

concede, “[t]he Local Rules do not provide for a movant to file a reply to a non-movant’s

statement of additional material facts.” Doc. 320, ¶ 5. If the Court were to grant the requested

extension, Defendants admittedly would use those pages to do that which the Local Rules do not

allow—to respond to “new factual and evidentiary assertions” in Plaintiffs’ Local Rule 56(a)(2)

statement. Doc. 320, ¶¶ 4–5. The Court should reject Defendants’ attempt to file an

impermissible reply to Plaintiffs’ Local Rule 56(a)(2) statement in the guise of an overlength

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“reply brief.” Moreover, whatever new evidence Defendants would submit to controvert

Plaintiffs’ factual and evidentiary assertions would only confirm Plaintiffs’ position that there are

myriad genuine factual disputes that must be resolved at trial.

       While Defendants also assert that a double-length brief is warranted “to address the

complex issues in this case” (Doc. 320, ¶ 4), Defendants already had a full and fair opportunity

to address any complex legal issues in their 37-page opening memorandum. Doc. 270. To the

extent Defendants need to respond to complex legal issues raised in Plaintiffs’ opposition

memorandum, the 10 pages afforded by Local Rule 7(d) are more than adequate.

       Finally, even if some extension were appropriate, allowing Defendants to file the

equivalent of two reply briefs would be disproportionate. The Local Rules contemplate that a

reply should be no more than one-fourth of the length allowed for the opposition memorandum.

L.R. 7(d). Accordingly, if the Court were to find a modest extension justified in light of the 10

additional pages in Plaintiffs’ Local Rule 56(a)(2) statement, any extension should be limited to

no more than 3 pages to maintain the ratio envisioned by the Local Rules.

       The Court should deny Defendants’ motion for the above reasons.




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February 15, 2021                         Respectfully Submitted,

                                          /s/ Andrew D. Schlichter
                                          SCHLICHTER BOGARD & DENTON LLP
                                          Jerome J. Schlichter (phv01476)
                                          Heather Lea, (phv08416)
                                          Andrew D. Schlichter (phv09955)
                                          Sean E. Soyars (phv08419)
                                          Joel D. Rohlf (phv09849)
                                          Alexander L. Braitberg (phv09929)
                                          100 South Fourth Street, Suite 1200
                                          St. Louis, Missouri 63102
                                          (314) 621-6115, (314) 621-5934 (fax)
                                          jschlichter@uselaws.com
                                          hlea@uselaws.com
                                          aschlichter@uselaws.com
                                          ssoyars@uselaws.com
                                          jrohlf@uselaws.com
                                          abraitberg@uselaws.com

                                          Ari J. Hoffman (ct22516)
                                          Cohen and Wolf, P.C.
                                          1115 Broad Street
                                          Bridgeport, CT 06604
                                          Telephone: (203) 368-0211
                                          Facsimile: (203) 337-5505
                                          arihoffman@cohenandwolf.com

                                          Attorneys for Plaintiffs




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on February 15, 2021 a copy of foregoing was filed electronically

using the Court’s CM/ECF system, which will provide notice of the filing to all counsel of

record.


                                               By: /s/ Andrew D. Schlichter
                                                       Andrew D. Schlichter




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